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                            IN THE UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION


CONTROL SOLUTIONS LLC,                       )
                                             )
               Plaintiff,                    )
                                             )
       v.                                    )       Case No. 10 C 121
                                             )
OSHKOSH CORPORATION,                         )       Judge Sharon Johnson Coleman
                                             )
               Defendant.                    )



                             MEMORANDUM OPINION AND ORDER

       Plaintiff Control Solutions (“CS”) is the manufacturer of specialty powered door systems

and defendant Oshkosh is the manufacturer of armored vehicles. Control Solutions filed a four

Count Complaint alleging that it had either an express or implied contract to supply Oshkosh with

all its requirements for powered door systems to be used in a line of armored vehicles. Control

Solutions claims that Oshkosh breached that contract by purchasing powered door systems from

another manufacturer instead of from Control Solutions. Oshkosh asserts that the parties were

merely engaged in negotiations that never resulted in a contract. Both parties filed motions for

summary judgment. The Court heard oral arguments on the motions on June 19, 2012. As set forth

below, this Court denies Control Solutions’ Motion for Partial Summary Judgment and grants

Oshkosh’s Motion for Summary Judgment.

Oshkosh’s Motion to Strike

       Before addressing the merits of the motions for summary judgment, this Court will consider

Oshkosh’s Motion to Strike [doc. 110]. Two of the objections raised in Oshkosh’s motion to strike

Control Solutions’ filings in support of its motion for summary judgment have been resolved by CS
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submitting a corrected brief that conforms to the 30 page limitation imposed by the Court and cites

to the paragraphs of the 56.1 statement of facts. The remaining issue relates to two declarations CS

submitted in support of its motion for summary judgment: the declaration of Jorge Jimenez and of

Michael McKee.

           Oshkosh argues that the declarations of Jorge Jimenez and Michael McKee should be

stricken as prejudicial. In support of its motion, Oshkosh argues that CS refused to make Jimenez

and McKee available for deposition and therefore it would be prejudicial to allow CS to use their

declarations in support of its motion for partial summary judgment. CS responds that Oshkosh’s

motion is untimely because Oshkosh did not depose Jimenez and McKee due to a discovery dispute

that arose in late July 2011 as discovery was set to close on July 28, 2011, and Oshkosh did not

seek to compel the depositions or any other relief at that time. Oshkosh did move to compel the

deposition of Ellen Schramm1 another CS witness, but did not seek the same relief for McKee and

Jimenez.

           Discovery in this case was set to close on July 28, 2011, however, the parties scheduled five

deposition between July 29 and August 5, 2011: Control Solutions was going to produce three

witnesses, including Jimenez (former Manager of Mechanical Engineering, Schramm (former

Contracts Administrator), and McKee (Chief Technology Officer), and Oshkosh agreed to produce

a Fed. R. Civ. P. 30(b)(6) witness and Joseph Gardemal (its expert witness). On July 28, 2011, a

dispute arose between the parties over the scope of the 30(b)(6) deposition notice. The parties were

unable to reach an agreement over the scope of the deposition. CS decided not to produce its

witnesses since Oshkosh would not produce theirs. As a result, none of the five depositions

scheduled after July 28, 2011, were taken as scheduled, though Schramm was later deposed after

Oshkosh moved to compel her deposition.


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    This Court granted Oshkosh’s motion to compel the deposition of Ellen of Schramm on August 24, 2011.


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          Rule 37 provides that upon failure of a party to comply with a discovery request, a party

may move the Court to enter an order compelling the noncomplying party to disclose the relevant

information. Fed. R. Civ. P. 37; see e.g., Nichols v. Chicago, 1992 U.S. Dist. LEXIS 6069, *8-9

(N.D. Ill. Apr. 29, 1992) (denying plaintiff’s motion in limine to exclude certain documents on the

basis that plaintiff failed to comply with Rule 37 and compel the production of the documents); see

also Rossetto v. Pabst Brewing Co., 217 F.3d 539, 542 (7th Cir. 2000) (affirming denial of a party’s

discovery motion filed two months after the close of discovery where the party offered no reason

for the delay).

          Oshkosh offers no explanation why it failed to move to compel the depositions of McKee

and Jimenez. Certainly, Oshkosh could have done so as it did with Ellen Schramm. Oshkosh should

not now be allowed to object to the use of the declarations on the basis that Oshkosh was not able to

depose them when it never sought to compel their depositions. Oshkosh filed its motion to strike the

declarations on October 7, 2011, more than two months after discovery had closed and it knew that

the depositions would not go forward as scheduled. Integral to Oshkosh’s argument to strike the

declarations is that McKee and Jimenez’s failure to appear for their scheduled depositions is

sanctionable under Rule 37(d) because they are “managing agents” or “officers” of the company.

Yet, Oshkosh never sought to enforce its right to take the depositions. The motion to strike is

denied.

Control Solutions’ Motion for Partial Summary Judgment

          On January 8, 2010, Control Solutions filed a four Count Complaint alternatively alleging

breach of an express supply contract, breach of an implied-in-fact supply contract, unjust

enrichment, and promissory estoppel. Control Solutions argues that it is entitled to summary

judgment in its favor on liability because either an express contract was formed whereby Oshkosh

agreed to purchase power door systems designed and manufactured by CS, if Oshkosh received a


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federal government contract to produce a military vehicle known as the “M-ATV,” or the parties

course of dealing in Spring 2009 created an implied-in-fact contract. CS further argues that

Oshkosh breached the contract when it failed to purchase CS’ power door system after the

government ordered the M-ATV with door armor kits from Oshkosh. CS requests a trial on

damages.

Oshkosh’s Motion for Summary Judgment on all Counts

       Oshkosh argues that it is entitled to judgment as a matter of law because no valid and

enforceable contract was ever formed between the parties. Oshkosh contends that CS did not make

an objective offer, Oshkosh did not accept an offer, and the purported contract does not contain all

the required material terms. Oshkosh further argues that any purported contract is unenforceable

under the Statute of Frauds. Additionally, Oshkosh moves for summary judgment arguing that there

is no valid underlying action to support CS’ unjust enrichment claim and, even if there were, the

record lacks any evidence that Oshkosh unjustly retained any benefits provided by CS. Oshkosh

also asserts that since the elements of a valid contract are lacking, CS cannot prevail on a claim for

promissory estoppel.

       Alternatively, Oshkosh argues that if the Court denies its motion for summary judgment on

the contract claims, the Court should grant partial summary judgment denying at least $179,251,

940 of CS’ claimed damages. Oshkosh argues that most of CS’ claimed damages are too

speculative. More specifically, Oshkosh contends that the “unabsorbed overhead costs” were not

caused by the alleged breach, and are not recoverable. The lost profits and “unabsorbed overhead

costs” are not recoverable under Count III for unjust enrichment because it is measured by a

defendant’s gains, not the plaintiff’s losses. Those damages are not recoverable under Count IV for

promissory estoppel either because the proper measure of damages would be those necessary to

restore CS to the position it was in prior to its reliance on Oshkosh’s promise.


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Background

        Plaintiff Control Solutions designs and manufactures control and user interface devices used

in a variety of commercial, military, and medical applications. For military uses, such as the one at

issue here, Control Solutions’ products include power door systems (“PDS”), which are used to

open and close doors on armored military vehicles. Oshkosh Defense is a division of Oshkosh

Corporation that manufactures armored and tactical vehicles for military applications.

        In December 2008, the Department of Defense issued a solicitation for the competitive

procurement of mine-resistant all terrain vehicles (“M-ATV”). The M-ATV is a type of armored

fighting vehicle designed to withstand improvised explosive devices (“IED”) with improved off-

road mobility over earlier generations of the vehicle. M-ATVs are designed to be equipped with

armor upgrade kits (“EFP kits” for explosively formed penetrators) for a higher degree of protection

against armor-piercing munitions. The EFP kits require power door assistance because of the extra

weight they add to a standard M-ATV door. The Department of Defense contract was to be

“indefinite delivery, indefinite quantity” (“IDIQ”) and gave the government the option to purchase

up to 10,000 M-ATVs over three years. It also gave the government the option to buy one EFP kit

for up to every M-ATV delivered.

        In January 2009, Oshkosh asked CS to develop a prototype door assist or powered door

system for vehicles that would be equipped with the EFP kits. CS delivered the first prototype, a

modification of its standard PDS, in February 2009. Oshkosh used the prototype PDS to equip its

marketing vehicle, which was displayed in an Association of the Unites States Army trade show in

February and nearly twenty other marketing events. On March 2, 2009, Kent Schulte a project

engineer at Oshkosh requested a “formal production quote” from CS “based on volumes of one EFP

kit per vehicle produced.” On March 6, Control Solutions quoted $5,800 per PDS unit.2 Control

2
 Each M-ATV vehicle has four doors and would need four PDS units when equipped with the EFP armor kits. Put
another way, one EFP kit contains four PDS units.


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Solutions agreed to absorb the cost of the original prototype as well as the research and

development costs.

       In March 2009, the Department of Defense selected Oshkosh as one of the manufacturers to

proceed to the next phase of contract bidding. The Department of Defense then gave each of the

selected manufacturers a contract to provide three vehicles for testing and evaluation by the Army

with one “production representative” EFP kit to be delivered for testing with the vehicles.

Throughout March and April 2009 Control Solutions continued to work with Oshkosh to develop

and refine the design of the PDS. On April 21, 2009, Oshkosh sent CS a purchase order for four

PDS units to make up the EFP kit for testing by the Army. The purchase order incorporated

Oshkosh’s Terms and Conditions, including a merger clause stating that the purchase order

constituted the entire agreement between the parties up to that point, “superseding any and all

previous communications and negotiations.” Oshkosh paid $46,000 for the four PDS units.

       In May and June 2009, Control Solutions continued to develop the design of the PDS. In a

meeting on May 6, 2009, Travis Schmuhl, Oshkosh Segment Commodity Manager asked Control

Solutions to agree in writing that it would be able to meet the 60 day delivery schedule. In an email

on May 11, 2009, CS stated that it could meet the “DX” requirements, but did not specifically

address the delivery schedule. On June 11, 2009, in response to another production price quote

request, CS submitted its standard delivery schedule of 14 to 16 weeks and stated “we will strive to

meet your delivery requirements.” The price quote also says that it is “for estimating purposes only

and is subject to change.”

       In early June, CS received an annotated “Statement of Work” from Oshkosh outlining which

of Oshkosh’s specifications had been met. Oshkosh accepted nearly all of the specifications for the

design. CS asserts that Oshkosh accepted the remainder of the outstanding design requirements by

late June, but presents no documentation to show establishing that fact. Oshkosh disputes that the


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design was ever finalized. With respect to the price term, Oshkosh admitted in its Answer to the

Complaint that on June 24, 2009, Schmuhl accepted Control Solutions’ final production price quote

from June 11, 2009. Oshkosh used that price quote to calculate the pricing of its M-ATV equipped

with EFP kits for its bid to the government. On June 15, 2009, Oshkosh’s design engineer Scott

Mueller emailed CS to set up a meeting “discussing how the Control Solutions’ PDS will be

purchased for M-ATV.”

       On June 30, 2009, the Army awarded the contract to Oshkosh, but the contract procured

only the baseline M-ATV. The EFP kits were to be procured under a separate, subsequent contract.

After the contract was awarded to Oshkosh, the engineers at Oshkosh and CS exchanged

congratulatory text messages. In a July 7, 2009, power point presentation created by Oshkosh for

Plasan, one of the slides states that “Oshkosh has made a production supplier selection for this

item,” referring to the PDS, though there is no mention of CS. On July 14, 2009, Oshkosh informed

CS that it would be competing the PDS sub-contract. In late August 2009, Oshkosh entered an

agreement with Parker Oildyne to supply the PDS units. The Army awarded Oshkosh the separate

EFP kit contract on December 24, 2009.

Legal Standard

       A party is entitled to summary judgment if all of the pleadings, the discovery and disclosure

materials on file, and any affidavits show that there is no genuine issue of material fact and that the

movant is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a). When considering a

summary judgment motion, the Court construes the facts and all reasonable inferences in the light

most favorable to the non-moving party. Abdullahi v. City of Madison, 423 F. 3d 763, 773 (7th Cir.

2005). The party who bears the burden of proof on an issue may not rest on the pleadings or mere

speculation, but must affirmatively demonstrate that there is a genuine issue of material fact that

requires a trial to resolve. Celotex v. Catrett, 477 U.S. 317, 324 (1986). On cross-motions, summary


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judgment is appropriate only when evidence as a whole shows there is no genuine dispute as to any

material fact, Davis v. Time Warner Cable of Southeastern Wis., L.P., 651 F.3d 664, 671 (7th Cir.

2011), regardless of which motion the evidence is attached. Las Vegas Sands, LLC v. Nehme, 632

F.3d 526, 532 (9th Cir. 2011).

       In order to prevail on a breach of contract claim, the plaintiff must prove: (1) the existence

of a valid and enforceable contract; (2) performance by the plaintiff; (3) breach of the agreement by

the defendant; and (4) injury to the plaintiff resulting from the breach. Henderson-Smith &

Associates, Inc. v. Nahamani Family Services Center, Inc., 323 Ill. App. 3d 15, 27 (2001).

Discussion

   1. Express Contract (Count I)

       Formation of an express contract requires: an offer, acceptance, consideration and mutual

assent to definite and certain terms. See, e.g., Cogswell v. Citifinancial Mortgage Co., Inc., 624

F.3d 395, 398 (7th Cir. 2010). Control Solutions argues that an express contract was formed by

June 2009 because the parties had expressly agreed on all essential terms of this contract. CS

alleges that the contract created was for it to supply all of Oshkosh’s requirements for power door

systems (“PDS”) for the armored vehicles it would supply to the government. CS asserts that the

essential terms are the product, the price, and the anticipated delivery schedule. Oshkosh disputes

that final agreement was reached on product, price and delivery and responds that those are not the

only material terms of a requirements contract.

       In a requirements contract, the promisor binds itself to purchase all of its requirements for a

particular good “exclusively” from a specific seller. Brooklyn Bagel Boys, Inc. v. Earthgrains

Refrigerated Dough Products, Inc., 212 F.3d 373, 377 (7th Cir. 2000). “Under Illinois law,

however, an essential element of a requirements contract is the promise by the buyer to purchase all




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of its requirements, or at least a minimum quantity, from the seller.” Id. at 379 (citing Torres v. City

of Chicago, 261 Ill. App. 3d 499, 632 N.E.2d 54, 58, 197 Ill. Dec. 985 (Ill. App. Ct. 1994)).

       CS contends that the following facts show that the parties expressly agreed on the product.

In January 2009, Oshkosh contacted CS to design a powered door system for its prototype M-

ATV’s armored doors so that Oshkosh could bid on a federal government contract. After delivery

of the initial prototype PDS, Oshkosh requested four units to use for the bid. Between March and

April 2009, CS continued to develop the design of the PDS to meet Oshkosh’s specifications. On

April 28, 2009, CS delivered a “production representative” PDS unit to Oshkosh. The federal

government required submissions to be “production representative” in order to bid on the contract.

In June 2009, Oshkosh reviewed the “statement of work” and CS had met nearly all of Oshkosh’s

specifications. CS claims that Oshkosh accepted the remainder of the outstanding specifications in

mid-late June.

       CS asserts that Oshkosh’s June 2009 request for a quote that it would use, and did use, to

“assess its final price to the government” is evidence that it accepted the price of the PDS units. CS

also points to Oshkosh’s Answer to the Complaint where Oshkosh admitted that its purchasing

agent Schmuhl accepted the price on June 24, 2009. Though, Oshkosh points out that the explicit

terms of the June price quote stated that it is “for estimating purposes only and is subject to

change.” CS also contends that it agreed to the government required delivery schedule of 60 days.

Oshkosh disputes that CS agreed to delivery within 60 days since CS stated that its regular delivery

schedule was 14-16 weeks and CS only said it “would strive to meet the delivery required

schedule.”

       Oshkosh argues that no express or implied contract was formed because there is no evidence

and CS does not even attempt to present any evidence as to exclusivity and a minimum quantity.

Oshkosh asserts that its supplier Terms and Conditions Section F(34), which CS received on the


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purchase order from April 28, 2009, when Oshkosh purchased the four PDS prototype units from

CS, specifically provides that Oshkosh has the right to terminate at its convenience any agreement

with a supplier. Oshkosh also argues that the two cases cited by CS are inapposite, and do not

support finding of an express requirements contract in this case.3

         Even if this Court were to find that the parties agreed on the final product, price, and

delivery schedule, there can be no express requirements contract without evidence of exclusivity

and quantity. CS does not mention these terms in its motion for summary judgment and argues in

response to Oshkosh’s motion that this Court should infer those two terms based on the parties’

course of dealing. “In a contract for the sale of goods, the court can supply all missing terms except

the quantity term. ‘While the quantity term in requirement contracts need not be numerically stated,

there must be some writing which indicates that the quantity to be delivered under the contract is a

party’s requirements or output.” (Emphasis added.) Ray Dancer, Inc. v. DMC Corp., 175 Ill. App.

3d 997, 1004 (2d Dist. 1988) (quoting Eastern Dental Corp. v. Isaac Masel Co., 502 F. Supp. 1354,

1364 (E.D. Pa. 1980)). Thus, this Court finds no express contract was formed between the parties

and Oshkosh is entitled to judgment as a matter of law on Count I.

    2. Implied-in-Fact (Count II)

         Under Illinois law, “an implied-in-fact contract is a true contract, containing all necessary

elements of a binding agreement; it differs from other contracts only in that it has not been

committed to writing or stated orally in express terms, but rather is inferred from the conduct of the

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  CS analogizes two cases to support its argument that an express agreement was reached between CS and Oshkosh –
Jannusch v. Naffziger, 379 Ill. App. 2d 381 (4th Dist. 2008), and Pritchett v. Asbestos Claims Mgmt. Corp., 332 Ill.
App. 3d 890 (5th Dist. 2002). In Jannusch, the claim was for a breach of an oral contract to purchase a concession
business. In that case, the defendant testified that an oral agreement to purchase Festival Foods for $150,000 existed, but
she could not recall the date on which they made the agreement. In addition to the defendant having admitted the
existence of a contract, the defendants had paid $10,000 as a down payment and applied for a business loan for the
remainder. The defendants also took possession of the business, purchased inventory, equipment, and received income,
paid taxes and employees. Therefore, the Illinois Appellate Court found the parties had entered an express oral contract.
Pritchett is even less analogous to the case at bar. There, the court considered an appeal from a judgment to enforce a
settlement agreement. The court found accord and satisfaction from the payment of a portion of the settlement and a
letter confirming the settlement.


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parties in the milieu in which they dealt.” AEI. Music Network, Inc. v. Business Computers, Inc.,

290 F.3d 952, 956 (7th Cir. 2002); Dynegy Mktg & Trade v. Multuit Corp., 648 F.3d 506, 517 (7th

Cir. 2011); Greenview Ag. Ctr., Inc. v. Yetter Mfg. Co., 246 Ill. App. 3d 132, 137 (Ill. App. Ct.

1993).

         The Illinois Uniform Commercial Code also allows for contracts implied-in-fact. See 810

ILCS 5/2-204. Section 2-204 of the Illinois UCC provides:

   (1) a contract for the sale of goods may be made in any manner sufficient to show agreement,
       including conduct by both parties which recognizes the existence of such a contract.
   (2) An agreement sufficient to constitute a contract for sale may be found even though the
       moment of its making is undetermined.
   (3) Even though one or more terms are left open a contract for sale does not fail for
       indefiniteness if the parties have intended to make a contract and there is a reasonably
       certain basis for giving an appropriate remedy.

CS argues that based on the course of dealing from January to mid-July 2009, a reasonable fact

finder could only infer the existence of an implied-in-fact contract requiring Oshkosh to purchase

from CS any PDS units it required to fulfill its contract with the government. CS refers to six facts

that evidence an implied-in-fact contract: that CS personnel traveled to the Aberdeen test site and to

trade shows where Oshkosh’s marketing vehicles were displayed with CS’ powered door system

units, in April 2009 Oshkosh asked CS to fill out certain forms to become a certified supplier, that

Oshkosh used CS’ pricing in connection with its bid to the government, as of June 30, 2009,

Oshkosh engineers stated that they expected the M-ATV contract to include the EFP kits and that if

it did, CS would be the supplier of the powered door systems, and in September 2009 when

Oshkosh chose to purchase PDS units from Parkins instead of CS, Oshkosh filled out a “change of

supplier” form for the government.

         Oshkosh argues that the facts, including those highlighted by CS, demonstrate that it was

attempting to negotiate the terms of an express buyer’s option arrangement. Oshkosh highlights

three fundamental flaws with CS’ argument: (1) none of the facts cited by CS equal an


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unambiguous affirmative act by Oshkosh showing that it agreed to the essential terms of the alleged

requirements contract and at most indicates ongoing negotiation; (2) the facts cited by CS

emphasize the January to May 2009 period, but CS’ own statement of undisputed material facts

states that negotiation continued at least through June 24, 2009; and (3) CS’s argument is

unsupported by the two cases it cites.4 Oshkosh also argues that CS’ theory is inherently

implausible because Oshkosh would not, based solely on conduct, obligate itself to purchase as

much as $421.3 million in goods over 10 years without inquiring if other suppliers could provide

the goods at a lower price, especially not without a written agreement. CS has still not put forth any

evidence of exclusivity, quantity, or that Oshkosh’s alleged acceptance of CS’ offer was knowing

and voluntary. See Midcoast Aviation, Inc. v. Gen. Electric Credit Corp., 907 F.2d 732, 743 (7th

Cir. 1990).

         “Courts finding contracts based on parties’ conduct have typically done so either where

there was repeated and ongoing conduct manifesting an agreement or where the parties had an

established course of dealing to which they adhered.” E.C. Styberg Eng’g Co. v. Eaton Corp., 492

F.3d 912, 919 (7th Cir. 2007). Here, the record shows that the parties’ interaction between January

2009 and June 2009, involved ongoing interaction for research and development of a prototype PDS

for Oshkosh’s use to bid on a government contract. The situation here is not one where the parties

had an established course of dealing, which would allow this Court to simply infer that they acted

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  Control Solutions analogizes two cases – United States ex rel. J.C. Shaefer Electric, Inc. v. O. Frank Heinz Constr.
Co., 300 F. Supp. 396. 400 (S.D. Ill. 1969), and Indus. & Textile Piping, Inc. v. Indus. Rigging Servs., Inc., 69 N.C.
App. 511 (N.C. App. Ct. 1984). In Heinz, although the court found a contract implied-in-fact, it was not a requirements
contract. The court inferred a contract from the conduct of the parties, including that the defendant general contract
named the plaintiff as a supplier when bidding on the primary contract and was denied a change of supplier when he
sought one. Also, in that case, the defendant told the plaintiff supplier “to proceed with the work at the quoted price”
and stated the intention to enter a formal agreement at a later date. Indust. & Textile Piping, involved an oral express
contract where the parties agreed to the specific tasks defendant was to complete, to a time schedule for performance,
and to payment terms. The defendant began work and the plaintiff made the first payments. The defendant later refused
to sign plaintiff’s written subcontract because it contained new terms that had not been agreed upon. The court stated
that “the parties’ failure to reach agreement on the written subcontract does not preclude the conclusion that an express
contract existed.” The court based its finding of an express contract on the parties conduct and the letter of intent.
Ultimately, the court found that the defendant did not breach the contract because the plaintiff told him to sign the
subcontract or leave the job.


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accordingly. There is no prior course of dealing or history of similar contracts between the parties

from which this Court can imply a contract.

    3. Statute of Frauds

        Even if this Court were to find that a contract exists, there remains the application of the

Statute of Frauds. To be enforceable under the Statute of Frauds, “a writing must be sufficient to

indicate that a contract to sell goods exists, be signed by the party against whom enforcement is

sought, and state a quantity term.” Zayre Corp. v. S.M. & R. Co., 882 F.2d 1145, 1154 (7th Cir.

1989). The Statute of Frauds does not require a writing for a contract that is otherwise valid, if it

falls within one of the three enumerated exceptions. See 810 ILCS 5/2-201(3). Oshkosh argues that

there is no writing that satisfies the Statute of Frauds because none of the parties’ correspondences

or other documents shows more than agreement on a few terms during negotiation. See Cent. Ill.

Light Co. v. Consol. Coal Co., 235 F.Supp.2d 916, 921 (C.D.Ill. 2002). There is no genuine dispute

that the Statute of Frauds applies since the alleged contract was for the sale of goods valued over

$500, and thus, there must be a written instrument or documents unless one of the three exceptions

applies. See 810 ILCS 5/2-201(1).

        The only potentially applicable exception here is the specially made goods exception.5 This

exception applies “if the goods are to be specially manufactured for the buyer and are not suitable

for sale to others in the ordinary course of the seller’s business and the seller, before notice of

repudiation is received and under circumstances which reasonably indicate that the goods are for

the buyer, has made either a substantial beginning of their manufacture or commitments for their

procurement.” See 810 ILCS 5/2-201(3)(a). Control Solutions argues that, based on Judge Bucklo’s

ruling on Oshkosh’s motion to dismiss, it is the law of the case that the alleged contract is within

the specially manufactured goods exception and thus no writing is necessary. Oshkosh asserts that

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 The other two exceptions are judicial admission (Oshkosh vehemently denies the existence of a contract) and complete
performance (CS has shown no evidence that it completely performed under the alleged contract).


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Judge Bucklo’s ruling only addressed the issue at the pleading stage, but that on summary judgment

CS must put forth at least sufficient evidence to create a genuine issue of fact. Oshkosh argues that

there is no evidence in the record that CS has made a substantial beginning of the manufacture of

the PDS units. Therefore, for this Court to determine whether the exception applies it must resolve

the question of what constitutes a “substantial beginning of the manufacture.”

       While there is a paucity of cases interpreting “substantial beginning of the manufacture,”

those cases applying this exception have construed the term narrowly, though none in the Seventh

Circuit. In Chambers Steel Engraving Corp. v. Tambrands, Inc., 895 F.2d 858 (1st Cir. 1990), the

First Circuit Court of Appeals held that the designing, developing and manufacturing of a prototype

did not constitute a substantial beginning of manufacture. The court further found that the alleged

oral contract for 20 to 30 embossing machines comes within the Statute of Frauds, and required a

writing to be enforceable. In Vision Sys., Inc. v. EMC Corp., 2005 Mass. Super. LEXIS 67, *14

(Feb. 28, 2005), the court held that Vision’s manufacture of 1,247 production units of the Symm

SDUs is a contract that is removed from the Statute of Frauds, but that there is no substantial

beginning on the 5,653 production units that were not actually manufactured, and constituted the

remainder of the purported contract for 6,900 units. In EMSG Sys. Div. v. Miltope Corp., 37 U.C.C.

Rep. Serv. 2d (Callaghan) 39 (1998), the court found that “the 1,000 sets [of circuit boards] actually

produced by Kenmar pursuant to a written purchase order do not constitute a “substantial

beginning” for any additional sets not actually manufactured.” In Epprecht v. IBM Corp., 36 U.C.C.

Rep. Serv. (Callaghan) 391 (E.D. Pa. 1983), the court held that the actual manufacture of 7,000

specially-made machine parts, as part of an alleged oral contract for 50,000 does not constitute a

“substantial beginning” sufficient to make the alleged oral contract for the remainder enforceable.

       Here, the record shows that Oshkosh ordered four PDS units for use in its bid for the

government contract. Oshkosh paid CS $46,000 for the PDS units. There is no evidence that CS


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began actual manufacture of PDS units beyond those that Oshkosh purchased for use in its bid or

the original prototype. Indeed, the record indicates that the parties continued to negotiate the design

even after Oshkosh received the four units. Even if this Court assumes that a contract was formed,

there is nothing to show that a final agreed upon PDS unit went into production.

       Furthermore, the purpose of the specially manufactured goods exception is to prevent a

supplier from being left with goods it cannot sell to anyone else. Here, there are no goods that have

been manufactured that CS would be unable to sell. Thus, the four units that Oshkosh used for its

government bid would be excepted from the Statute of Frauds (though, there is a written purchase

order for those units), based on the cases interpreting “substantial beginning of manufacture,” those

four units do not exempt any PDS units that were not actually manufactured. Moreover, as Oshkosh

points out, once it chose a PDS supplier to fulfill its requirements on the government contract,

Oshkosh and Parker its supplier entered into a written requirements contract. This Court finds that

no genuine issue of material fact exists on the application of the Statute of Frauds or its exceptions.

Since this Court finds that no express or implied contract was formed between the parties, Oshkosh

cannot have breached said contract.

    4. Unjust Enrichment (Count III)

       In addition to moving for summary judgment on Counts I and II (the contract claims),

Oshkosh also argues that it is entitled to judgment as a matter of law on CS’ unjust enrichment and

promissory estoppel claims. Under Illinois law, “[t]o state a cause of action based on a theory of

unjust enrichment, a plaintiff must allege that the defendant has unjustly retained a benefit to the

plaintiff’s detriment, and that defendant’s retention of the benefit violates the fundamental

principles of justice, equity, and good conscience.” Village of Bensenville v. City of Chicago, 389

Ill. App. 3d 446, 491-92 (2d Dist. 2009). Oshkosh argues that unjust enrichment is not a cause of

action that can support recovery standing alone, but must be brought about by unlawful or improper


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conduct such as fraud, undue influence, etc., that may constitute a separate cause of action. See

Martis v. Grinnell Mut. Reinsurance Co., 388 Ill. App. 1017, 10024-25 (3d Dist. 2009). CS asserts

that the Seventh Circuit, examining Illinois Supreme Court decisions, has held that unjust

enrichment does not need to be grounded in a claim of fraud or other improper conduct. See Cleary

v. Philip Morris Inc., 656 F.3d 511, 516 (7th Cir. 2011). In Cleary, the Court articulated a means of

reconciling the apparent conflicts in cases considering unjust enrichment claims. The court stated:

       “Unjust enrichment is a common law theory of recovery or restitution that arises

       when the defendant is retaining a benefit to the plaintiff’s detriment, and this

       retention is unjust. What makes the retention of the benefit unjust is often due to

       some improper conduct by the defendant. And usually this improper conduct will

       form the basis of another claim against the defendant in tort, contract or statute.

       So, if an unjust enrichment claim rests on the same improper conduct alleged in

       another claim, then the unjust enrichment claim will be tied to this related claim –

       and, of course, unjust enrichment will stand or fall with the related claim.” Cleary

       v. Philip Morris, Inc., 656 F.3d 511, 517 (7th Cir. 2011).

Thus, unjust enrichment may be asserted as a stand alone claim. However, if the improper conduct

that forms the basis of the unjust enrichment claim is the same conduct forming the basis for

another claim, then either both stand as alternative theories of recovery or both fail. Neither Cleary

nor the Illinois cases, which form the basis for its analysis, are breach of contract cases.

       Here, CS’ unjust enrichment claim is based on the same conduct as its breach of contract

claim. CS claims that it provided Oshkosh with research, labor, and development of PDS units with

the expectation that it would be compensated. Oshkosh argues that it paid CS a premium for the

prototype PDS units/door assists and their development through the April 21, 2009, purchase order.

CS retained all of the intellectual property rights to its research and development. Moreover, the


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government specifically stated that it did not evaluate the PDS units when it considered whether to

award Oshkosh the M-ATV contract. Thus, the only detriment that CS has suffered is that Oshkosh

did not purchase any more PDS units than the prototypes it used to bid on the government contract.

Following the reasoning in Cleary, this Court would have to find that Oshkosh and CS had a

contract and that Oshkosh breached the contract. Otherwise, there is no unjust retention of a benefit

for which CS was not compensated. This Court has found that no contract was formed and thus no

breach occurred and the record shows that Oshkosh compensated CS for the production ready

prototypes. Accordingly, Oshkosh is entitled to judgment in its favor on this claim.

    5. Promissory Estoppel (Count IV)

       “To establish a claim, the plaintiff must prove that (1) defendant made an unambiguous

promise to plaintiff, (2) plaintiff relied on such promise, (3) plaintiff's reliance was expected and

foreseeable by defendants, and (4) plaintiff relied on the promise to its detriment.” Newton Tractor

Sales, Inc. v. Kubota Tractor Corp., 233 Ill. 2d 46, 51 (2009). In Illinois, the statute of frauds is

applicable to promises claimed to be enforceable under the doctrine of promissory estoppel. Fischer

v. First Chicago Capital Mkts., Inc., 195 F.3d 279, 284 (7th Cir. Ill. 1999) (citing Architectural

Metal Systems, Inc. v. Consolidated Systems, Inc., 58 F.3d 1227, 1231 (7th Cir. 1995), and First

Nat. Bank v. McBride, 267 Ill. App. 3d 367 (1994)). Thus, in order to prevail under the doctrine of

promissory estoppel, Control Solutions must present written evidence of an “unambiguous

promise” which, but for the existence of bargained-for consideration, would constitute an

enforceable contractual agreement. See Dumas v. Infinity Broad. Corp., 416 F.3d 671, 677 (7th Cir.

2005). This claim fails for the same reason as the contract claims. There is no written evidence of

an “unambiguous promise” to use CS as the supplier for any and all PDS units Oshkosh requires.




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Conclusion

       Based on the foregoing, this Court should find that the Statute of Frauds applies and that

Control Solutions fails to present a writing sufficient to meet the Statute of Frauds because there is

no documents or writings establishing exclusivity or quantity (i.e., that CS was to exclusively

provide all of Oshkosh’s requirements for PDS units). The Court also finds that the alleged

oral/implied requirements contract does not meet the specially-made goods exception to the Statute

of Frauds because CS did not make a substantial beginning of manufacture. Therefore, this Court

denies Control Solutions’ motion for partial summary judgment since the evidence presented does

not establish an express or implied-in-fact contract.

       What is evident from the record is that the parties extensively negotiated towards some sort

of supply contract, but not necessarily an exclusive requirements contract. The record also shows

that CS developed a prototype PDS unit for Oshkosh’s use in its proposal to the government, and

that Oshkosh paid a premium ($46,000 for four, where the final production quote was $5,800 each

or $23,200 for four) for the production representative units. CS agreed to absorb the cost of

developing the prototype and for research and development.

       Since this Court finds that Counts I and II based on breach of contract are precluded by the

application of the Statute of Frauds, Count IV for promissory estoppel must also fail since the

Statute of Frauds applies to it as well and there is no writing or documents indicating an

“unambiguous promise” by Oshkosh that CS would be its exclusive supplier for all PDS unit

requirements. Count III also fails because CS has not put forth evidence that Oshkosh unjustly

retained a benefit. Therefore, Oshkosh’s motion for summary judgment is granted.

IT IS SO ORDERED.

Date: July 27, 2012                                 Entered:__________________________
                                                      Sharon Johnson Coleman



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